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     Ronald Charles Vrooman General delivery Beaverton, Oregon [97005] 503 641 8374
     ronvrooman38@gmail.com
 1                      On Oregon IN THE UNITED STATES DISTRICT COURT FILEI(J5JUN '1710:40USDC-ORP

 2                       FOR THE DISTRICT OF OREGON seeking jurisdiction!

 3   Ronald Charles Vrooman                           )
 4   Party for Plaintiff Pro se and                   )      Case number: Every case that I
 5   Ronald Charles Vrooman Private Attorney          )      have filed into Federal District
     Generals by the United States Congress 42
 6                                                    )      Court Portland Oregon or
     U.S.C.1988 andl8 U.S.C.1510 and 18 U.S.C.
 7   1512 and to be known as "One of the People"             courthouse 740 by all its names
                                                      )
     also "Qualified Criminal Investigator'' and
 8   "Federal Witness" and by unrebutted affidavit.   )      and the Portland location.
     Status identified and unrebutted.
 9                                                             Failure to provide due process
10                                                           and violations ofinalienable, civil

11   Vrs.                                                     and human rights and RICO. Are

12                                                             violations of 18 USC 3571. Not
   The corporate governance (s) being
13 manifested within this court and among its                abiding by governing law is a due
   employees by name and title ...                                    process violation.
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25   Notice to all Deputy Clerks and Clerk of the Court. You may seek input
26   from the judiciary. I cannot as they have yet to provide proof of
21   jurisdiction and bona fides.

28   Challenging Color legal fiction; with full faith and credit this below
29   applies to Oregon and federal corporate governances.

30   https://scannedretina.com/2014111/09/califomia-brown-act-govemment-
31   code-section-54950-54963/ !

32   California Brown Act - Open Meetings Act
33   Excerpt:

34

35   54950.  In enacting this chapter, the Legislature finds and declares
36   that the public commissions, boards and councils and the other
37   public agencies in this State exist to aid in the conduct of the
38   people's business. It is the intent of the law that their actions be
39   taken openly and that their deliberations be conducted openly.
40      The people of this State do not yield their sovereignty to the
41   agencies which serve them . The people, in delegating authority, do
42   not give their public servants the right to decide what is good for
43   the people to know and what is not good for them to know. The peopl e
44   insist on remaining informed so that they may retain control over the
45   instruments they have created.
46

47   There are several cases filed, with docket numbers, by me. There are
48   also filings by me into Bundy et al. that are included.
49   In the spirit of friendship and brotherly love, I propose that all the improper actions or ones that I
50   or this court could have misconstrued as improper by me, the clerks and judiciary in this court
51   known as Federal District Court of Portland Oregon and the man Ronald Charles Vrooman
52   known by act of Congress to be one of the people, be put aside and each case examined together
53   to determine any deficiencies in the paper work in chronological order.

54   In the quest for harmony and remedy.

55   With full faith and credit I do this under ORCP20A.

56   I claim, give notice and demand. I do not plea, petition, request, motion or supplicate.


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57   Case filings into a court of record were removed by Brown's directions to the clerks in the
58   Bundy et al. case. Provide proof of the governing law that enabled that act. Or by your silence
59   you acquiesce. There is no law that permits her actions making the removal null and void. Thus
60   the filings are active and need to be properly and lawfully dealt with ... There is 30 days to comply
61   or by your silence acquiesce to wrongful action by Brown in Bundy et al. Wrongful action is a
62   due process violation.

63   Prior to that time I submitted a Notice and Demand to Mary clerk of court. It is unanswered to
64   this date. Answer this document or by your silence you acquiesce to the document in 30 days
65   from the registered date stamped on this copy. Due process violations.

66   This court thru its clerks and judiciary has neglected to abide by governing law. I have itemized
67   proof. Agree to abide by governing law now and in the future or by your silence you acquiesce
68   to your failure to do so. You have 30 days. Each failure is a due process violation acknowledged
69   by your default. Incontrovertible evidence in the DC Claims court.

70   This court owes me $800.00 in FRN that were erroneously collected and not returned when
71   required to do so. I have the bogus excuse of no method to do so. That is insulting to me! Send to
72   me $800.00 in FRN, check or Postal money order in 30 days from the registered date stamped on
73   this copy. Or by your silence you acquiesce to your culpability of due process violation. 18 USC
74   3571 at 250K penalty.

75   This court transferred cases to Eugene in error. McShane in Eugene, was identified as an Article
76   III judge, has failed to provide proof. In addition to not providing evidence of his bona tides and
77   jurisdiction, he demanded money and after being informed that no money was due to him or the
78   court, he wrote and order, without jurisdiction filed in writing into the record, relieving an
79   attorney for the Beaverton School District of discovery. Provide a correction letter to that
80   attorney and to me that he was in error. Or by your silence acquiesce to your due process
81   violation at 250K penalty. You have 30 days.

82   There is a Habeas Corpus filed into this court, on my behalf and assumed by me, which is still
83   hanging undetermined. There are due process and a speedy requirement, in the governing laws,
84   in place. The governing laws are being ignored. Part of this Habeas Corpus is a 2"d amendment
85   violation by John Mercer, a self identified judge with no known bona tides or jurisdiction
86   provided, this and other errors must be attended to. Or by your silence you acquiesce to my
87   demands in the Habeas Corpus. After 30 days this copy will become a court order nullifying my
88   conviction in the Beaverton Municipal Court. The receipt stamp on this document filed into this
89   court with a recorded stamp and 30 days will be all the proof needed, to be entered into any court
90   as proof of nullification of UC 7945181. Without equivocation, mental reservation or secret
91   evasion.

92      There is no charge for file on demand as all my documents are.


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93       Many of the actions looks like entrapment to me, as this court has been challenged to provide
94       proof of jurisdiction filed into the record of this court and it has not done this. I am in pro se
95       only when you can provide a court. It is guaranteed by the Constitution whichever one you
96       took your oath on/to. t(T)he u(U)nited States of/for America they all say the same thing it is
97       just word art and fraud upon the people and I am known as One of the People. In legislation
98       it is intent that counts.

 99   I do lawful not legal and supply my best effort. If there is deficiencies in my papers please
100   inform me and I will correct them. That's the governing law. I will not however, accept
101   jurisdiction without your proof. That's the governing law. I don't have the BAR or FARA
102   identification that the judges and magistrates and attorneys in this court are required to have and
103   is now demanded of all those so identified in their employment or professional records. My
104   status is clear and this court knows it. That's the governing law. In writing address me as an
105   Oregonian an American State National with all of my guaranteed rights not a US citizen. That is
106   settled case law. After 30 days this copy will become a court order valid in any court. The receipt
107   of this document into this court with a recorded stamp on my copy will be all the proof needed,
108   plus 30 days to be entered into any court or corporate governance department or agency, such as
109   the State Department in DC; as proof of my nationality; Oregonian a state National of the united
110   States of America with all rights reserved.

111      I demand that this court/courthouse 740/clerk of the court protect my inalienable rights, civil
112      rights and due process. In each and every instance!

113      Such as: with full faith and credit clause in force.

114      Article [the] VI of the Constitution of the United States for the United States of America,
115      Anno Domini 1789, with Articles of Amendment Anno Domini 1791:
116      1 Oath of Office (Art. IXI Sec. 3, Cal. Const; 4 U.S.C. 101) (Prior to 1 July, 2009 to Present
117      time).
118      2 Letter of Appointment form if applicable or,
119      3 Registration Statement (Title 22 U.S.C. § 611 & 612). (Re: foreign agent/propagandist
120      registration)
121      4 Delegation of Authority Affidavit
122      5 Employee Affidavit if applicable
123      6 Official Surety Bond (per inter-alia Cal. Govt. Code Sect. 1450-1463.)
124      7 Registration Statement (Title 22 U.S.C. § 611 & 612). (Re: foreign agent/propagandist
125      registration)
126      8 Loyalty and Security Clearance (Title 22 U.S.C. 272b).
127      9 Certification of Election form if applicable.
128      10 State Statement of Economic Interest Form.
129      11 License to practice law endorsed with oath required under Section 6067 of the California
130      Business and Professions Code.

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131      12 Pocket Commission.
132      13 Full Financial Disclosure!

133      I have informed Matt, Eric, Christy, Charlene and Mary and notice to the agent is notice to
134      the agency. Accardi and Clearfield Doctrines and ex parte Milligan are in Play. It seems that
135      the oaths to the Constitution are being ignored. Whichever Constitution you place on the
136      table it does not obscure the 4 comer rule and the Original founding documents intent.

137      It is not necessary for me to print over and over again facts and law and statutes and case law.
138      It is time for you folks to TAKE HEED.

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                   ,   .·NOTARY PUBLIC - OREGON
                          COMMISSION NO. 939009
                MY COMMISSION EXPIRES JUNE 2, 2019




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